         8:04-cr-00164-RGK-CRZ                      Doc # 437           Filed: 11/09/17        Page 1 of 4 - Page ID # 1555
AO 245D(Rev. 11/16) Judgment in a Criminal Case for Revocations

                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                                  District of Nebraska

               UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                             (For Revocation of Probation or Supervised Release)
                                    v.
                                                                             Case Number: 8:04CR164-001
                                                                             USM Number: 19481-047

                       OCTAVIO BARRON                                        John C. Vanderslice
                                                                             Defendant’s Attorney



THE DEFENDANT:
☒ admitted guilt to violation of Standard Condition #7 of the term of supervision.
☐ was found in violation of condition after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number                         Nature of Violation                                                    Violation Ended
3                                        The defendant shall refrain from excessive use of alcohol and          September 15, 2017
                                         shall not purchase, possess, use, distribute, or administer any
                                         controlled substance or any paraphernalia related to any
                                         controlled substances, except as prescribed by a physician.

        The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☒ Allegations 1, 2, and 4 of the Petition #415 are dismissed without prejudice on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.
                                                                           November 9, 2017
                                                                           Date of Imposition of Sentence:


                                                                                s/ Richard G. Kopf
                                                                                Senior United States District Judge

                                                                                November 9, 2017
                                                                                Date
         8:04-cr-00164-RGK-CRZ                      Doc # 437        Filed: 11/09/17   Page 2 of 4 - Page ID # 1556
AO 245D(Rev. 11/16) Judgment in a Criminal Case for Revocations                                Judgment Page 2 of 4
DEFENDANT: OCTAVIO BARRON
CASE NUMBER: 8:04CR164-001
                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of seven (7) months.

☒The Court makes the following recommendations to the Bureau of Prisons:

     1. That the defendant receive credit for time served from 09/27/2017.

     2. That the defendant be placed at FPC-Englewood, Colorado.

☒The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
          ☐ at
          ☐ as notified by the United States Marshal.
☐The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                           ________________________________________
                                                                                  UNITED STATES MARSHAL

                                                                           BY: ___________________________________
                                                                                 DEPUTY UNITED STATES MARSHAL
         8:04-cr-00164-RGK-CRZ                      Doc # 437          Filed: 11/09/17     Page 3 of 4 - Page ID # 1557
AO 245D(Rev. 11/16) Judgment in a Criminal Case for Revocations                                     Judgment Page 3 of 4
DEFENDANT: OCTAVIO BARRON
CASE NUMBER: 8:04CR164-001

                                                          SUPERVISED RELEASE

No term of supervised release is imposed.

                                                  CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set
forth in this judgment.

                          Assessment                              JVTA Assessment*       Fine             Restitution

TOTALS                    $100 (paid)

☐ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO245C) will be
  entered after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
   3664(i), all nonfederal victims must be paid before the United States is paid.

      Name of Payee                       Total Loss**                        Restitution Ordered              Priority or Percentage



Totals


☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
  full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
  on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☐ the interest requirement is waived for the ☐ fine ☐ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
         8:04-cr-00164-RGK-CRZ                      Doc # 437     Filed: 11/09/17   Page 4 of 4 - Page ID # 1558
AO 245D(Rev. 11/16) Judgment in a Criminal Case for Revocations                             Judgment Page 4 of 4
DEFENDANT: OCTAVIO BARRON
CASE NUMBER: 8:04CR164-001


CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a document which was electronically filed with the United States
District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
